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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

    TOMMY BADEAUX, ET AL.,                                         CIVIL DOCKET
       Plaintiffs

    VERSUS                                                         NO. 19-566

    ROGER GOODELL, ET AL.,                                         SECTION: “E”(5)
       Defendants

                                    ORDER AND REASONS

        This case arises out of the events in the final two minutes of the National Football

Conference championship game between the New Orleans Saints and the Los Angeles

Rams, held in New Orleans, Louisiana on January 20, 2019.1 Plaintiffs allege that Los

Angeles Rams cornerback, Nickell Ribey-Coleman, made improper helmet-to-helmet

contact with New Orleans Saints wide receiver, Tommylee Lewis, and improperly

interfered with his ability to catch a pass. 2 Plaintiffs allege, and it is undisputed, the

officials at the game did not call either a pass-interference or a helmet-to-helmet contact

penalty.3

        On January 22, 2019, Plaintiffs filed suit in the Civil District Court of Orleans

Parish, Louisiana. 4 The Plaintiffs name as Defendants Roger Goodell, the National

Football League (“the NFL”), and NFL Properties, LLC. 5 Defendants filed a Notice of

Removal on January 25, 2019, invoking this Court’s jurisdiction under the Class Action

Fairness Act (“CAFA”). 6 On January 28, 2019, the Court held a hearing regarding its

jurisdiction and Plaintiffs’ right to a writ of mandamus under Louisiana law. Before and


1 R. Doc. 1-1 at 2-3, ¶2.
2 Id. at 2-4, ¶¶ 2, 7.
3 Id. at 3-4, ¶ 7.
4 Id. at 2-5.
5 Id. at 2, ¶ 1.
6 R. Doc. 1; 28 U.S.C. § 1332(d).


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after the hearing, the parties submitted briefing regarding this Court’s jurisdiction and

Plaintiff’s right to a writ of mandamus.7 On January 29, 2019, Plaintiffs filed a Motion to

Remand.8 Defendants oppose the Motion to Remand.9

        I.      The Court Has Jurisdiction Under CAFA

        CAFA provides federal subject matter jurisdiction over a “class action” in which

plaintiff class members number at least 100, at least one plaintiff class member is diverse

in citizenship from any defendant, and the aggregate amount in controversy exceeds

$5,000,000.10

                A. The Plaintiffs Filed a Class Action in State Court

        The initial inquiry must be whether Plaintiffs filed a class action in state court. The

Plaintiffs claim they did not.11 The two named Plaintiffs claim they filed an individual

action requesting a writ of mandamus and that jurisdiction must be evaluated on that

basis.12

        CAFA defines a “class action” as “any civil action filed under Rule 23 of the Federal

Rules of Civil Procedure or similar State statute or rule of judicial procedure authorizing

an action to be brought by 1 or more representative persons as a class action.” 13 Louisiana

Code of Civil Procedure articles 591-597 outline the requirements for a class action under

Louisiana law. Those articles “essentially adopt current federal law regulating class

actions” under Rule 23 of the Federal Rules of Civil Procedure. To the extent the Louisiana




7 R. Docs. 6, 11, 17, 18.
8 R. Doc. 24.
9 R. Doc. 28.
10 28 U.S.C. § 1332(d).
11 R. Doc. 11 at 5; R. Doc. 24-1 at 3.
12 R. Doc. 24 at 2. In a separate conclusion paragraph of the petition, Plaintiffs further “prays [sic] that a

writ of mandamus be ordered.” R. Doc. 1-1 at 5.
13 1332(d)(1)(B).


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code articles parallel Rule 23, “the analysis of Louisiana’s class certification is

appropriately informed by federal jurisprudence interpreting Federal Rule 23.”14

        Although Plaintiffs’ state court petition is captioned “Petition for Writ of

Mandamus,” the label is not determinative.15 It is well established that, “in determining

whether there is jurisdiction, federal courts look to the substance of the action and not

only at the labels that the parties may attach.”16 In enacting CAFA, Congress expressed

concern about “jurisdictional gamesmanship” designed to keep class actions out of federal

court and emphasized that “class action” should be interpreted liberally. 17 Congress

explained:

        the overall intent of these provisions is to strongly favor the exercise of
        federal diversity jurisdiction over class actions with interstate ramifications.
        In that regard, . . . the definition of “class action” is to be interpreted
        liberally. Its application should not be confined solely to lawsuits that are
        labeled ‘class actions’ by the named plaintiff or the state rulemaking
        authority. Generally speaking, lawsuits that resemble a purported class
        action should be considered class action for the purpose of applying these
        provisions.18

A lawsuit resembling a class action will not escape CAFA jurisdiction simply because it

omits the words “class action” or does not include the state rule or statute under which it

proceeds as a class action.19

        Clearly, the claims in Plaintiffs’ state court petition are asserted by the named

Plaintiffs individually and on behalf of others. The caption of the petition lists Plaintiffs


14 Doe v. S. Gyms, LLC, 2012-1566, p. 6 (La. 3/19/13); 112 So. 3d 822, 828.
15 Senate Report No. 109-14, at 35 (2005).
16 Louisiana v. Allstate Ins. Co., 536 F.3d 418, 424 (5th Cir. 2008) (citing Grassi v. Ciba-Giegy, Ltd., 894

F.2d 181, 185 (5th Cir. 1990)).
17 Senate Report No. 109-14, at 10 (2005); see also Williams v. Emp’rs Mut. Cas. Co, 845 F.3d 891, 901 (8th

Cir. 2017); Louisiana v. Allstate Ins. Co., 536 F.3d at 424.
18 Senate Report No. 109-14, at 35 (2005).
19 Williams, 845 F.3d at 901 (“If we interpreted ‘any civil action filed under Rule 23’ or a state-law analogue

to refer only to cases that specifically mention Rule 23 or a state-law analogue, as Williams proposes, a
plaintiff could avoid federal jurisdiction for a lawsuit that resembles a class action in all respects simply by
omitting from the complaint the name of the rule or statute under which she proceeds.”).

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as “Tommy Badeaux and Candis Lambert, individually and on behalf of New Orleans

Saints Season Ticket Holders, New Orleans Saints National Fan Base a/k/a The Who Dat

Nation and any party with interest that has been affected by the outcome.” 20 The

introductory paragraph of the petition states it is “[t]he petition of Tommy Badeaux and

Candis Lambert, individually and on behalf of New Orleans Saints Season Ticket Holders,

New Orleans Saints National Fan Base a/k/a The Who Dat Nation and any party with

interest that has been affected by the outcome.”21 In the first paragraph of the prayer of

the petition, “Petitioners, Tommy Badeaux and Candis Lambert, individually and on

behalf of New Orleans Saints Season Ticket Holders, New Orleans Saints National Fan

Base a/k/a The Who Dat Nation and any party with interest that has been affected by the

outcome, pray that this petition be served upon defendants” and request “after due

proceedings” that there be judgment in their favor, “granting plaintiffs’ claims against

defendants . . . together with interest thereon and for all costs of these proceedings, and

for all general and equitable relief.”22

         Plaintiffs allege the incident at issue was caused by the negligence of Defendants

Goodell and the NFL. Specifically, paragraph nine of the petition alleges:

         The said incident was proximately caused by the negligence of the
         defendant, Roger Goodell and the National Football League, in the
         following non-exclusive respects:
         (a) Failure to maintain proper lookout;
         (b) Failure to properly call penalties and infractions during game play;
         (c) Failure to review plays to correct field oversight after the fact;
         (d) Failure to exercise the rights afforded to the commissioner to correct
         extraordinary unfair actions;
         (e) Failure to enforce the rules of the game;
         (f) Failure to properly train and supervise referees;
         (g) Any other act of negligence shown at the trial of this matter.23

20 R. Doc. 1-1 at 2.
21 Id. at 2, 5.
22 Id. at 5.
23 Id. at 4, ¶ 9.


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          The petition itemizes various categories of damages for which Plaintiffs seek relief

based on the Defendants’ negligence, including:

          (a) Past present, and future mental anguish and emotional trauma;
          (b) Past present, and future loss of faith in the NFL;
          (c) Past present, and future loss of enjoyment of life;
          (d) Present and future loss of entertainment;
          (e) Distrust of the game which has become a national pastime;
          (g) [sic] Other damages itemized at the trial of this matter.24

          In the first paragraph of their prayer for relief, Plaintiffs requested “judgment in

Plaintiffs’ favor, granting plaintiffs’ claims against defendants . . . together with interest

thereon.” The enumeration of the acts of negligence and the damages resulting from that

negligence, including a request for a judgment with interest, is appropriate only in the

context of a negligence cause of action for damages, not an action for a writ of mandamus.

Plaintiffs included a second, separate paragraph in their prayer for relief, in which they

“further prays [sic] that a writ of mandamus be ordered.”25 The fact that Plaintiffs prayed

first for a judgment with interest and second, or further, for a writ of mandamus discredits

their assertion that they sought to bring only a mandamus action.

          Plaintiffs’ state court petition unmistakably resembles a class action despite its

omission of the words “class action” or reference to Louisiana Code of Civil Procedure

article 591, et seq. Plaintiffs bring claims “individually and on behalf of New Orleans

Saints Season Ticket Holders, New Orleans Saints National Fan Base a/k/a The Who Dat

Nation and any party with interest that has been affected by the outcome.”26 Plaintiffs are

not parents, guardians, trustees, or executors of the New Orleans Saints season

ticketholders or the members of the Who Dat Nation; they are not legal representatives


24 Id. at 5, ¶ 11.
25 Id. at 5.
26 Id.


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of the members of the purported class by virtue of any law. The only right the Plaintiffs

possibly have for bringing claims on behalf of New Orleans Saints season ticketholders

and members of the Who Dat Nation derives from Louisiana Code of Civil Procedure

article 591, et seq. The court finds Plaintiffs’ have brought a class action.

        After Defendants removed the case, Plaintiffs attached to their memorandum

regarding subject matter jurisdiction an affidavit signed by Plaintiff Tommy Badeaux in

which he affirms that he does not seek to certify a class action. 27 Plaintiffs contend this

affidavit demonstrates that Plaintiffs did not bring a class action under state law and, as

a result, this court has no jurisdiction under CAFA.28 CAFA jurisdiction is determined by

the facts as they existed at the time of removal, not by subsequent events. 29 Once a court

has diversity subject matter jurisdiction under CAFA, post-removal affidavits will not

deprive the Court of jurisdiction.30 As a result, the affidavit has no bearing on the Court’s

determination of its jurisdiction. As the Fifth Circuit has recognized, “removal based on

diversity of citizenship is a right conferred by Congress, the need for which ‘may well be

greatest when the plaintiff tires hardest to defeat it.’”                    31   Plaintiffs’ “jurisdictional




27 R. Doc. 11-1 at 2. The affidavit also states that Plaintiff does not request monetary damages.
28 R. Doc. 11.
29 Louisiana v. Am. Nat. Prop. Cas. Co., 746 F.3d 633, 635 (5th Cir. 2014); Gebbia v. Wal-Mart Stores, Inc.,

233 F.3d 880, 883 (5th Cir. 2000); see also Wis. Dep't of Corr. v. Schacht, 524 U.S. 381, 390 (1998) (“[F]or
purposes of removal jurisdiction, we are to look at the case as of the time it was filed in state court—prior
to the time the defendants filed their answer in federal court.”); St. Paul Mercury Indem. Co. v. Red Cab
Co., 303 U.S. 283, 291 (1938) (“[T]he status of the case as disclosed by the plaintiff's complaint is controlling
in the case of a removal, since the defendant must file his petition before the time for answer or forever lose
his right to remove.”).
30 Standard Fire Ins. Co v. Knowles, 568 U.S. 588 (2013) (finding post-removal affidavit stipulating that

plaintiff would not seek damages for the class in excess of $5 million did not deprive the court of jurisdiction
under CAFA). To the extent the Plaintiffs argue the affidavit functions as a voluntary dismissal of Plaintiffs’
class action claims, the withdrawal of class allegations or severance of a class action into individual actions
does not change the jurisdictional analysis because the action was filed as a class action. Louisiana v. Am.
Nat. Prop. Cas. Co., 746 F.3d at 639.
31 Grassi, 894 F.2d at 185 (citing AMERICAN LAW INSTITUTE, STUDY OF THE DIVISION OF JURISDICTION

BETWEEN STATE AND FEDERAL COURTS, Official Draft, at 169 (1969)).

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gamesmanship” in submitting the post-removal affidavit signed by Plaintiff Tommy

Badeaux is to no avail.

        Plaintiffs’ state court petition, asserting causes of action by the individual Plaintiffs

and on behalf of others, clearly is a class action. Accordingly, the Court will examine

whether it has jurisdiction under CAFA.

                B. Over One Hundred Plaintiffs

        For this court to exercise diversity subject matter jurisdiction under CAFA, the

plaintiff class members must number at least one hundred.32 Plaintiffs bring suit in an

individual capacity and on behalf of “New Orleans Saints Season Ticket Holders, New

Orleans Saints National Fan Base a/k/a The Who Dat Nation and any party with interest

that has been affected by the outcome.”33 Although this Court does not have evidence of

the number of New Orleans Saints season ticketholders, Plaintiffs do not contest that

there are at least one hundred Saints season ticketholders.34 It is reasonable for the Court

to infer that the number of class members exceeds one hundred.35 As a result, the Court

finds the plaintiff class members number at least one hundred persons.

                C. Minimal Diversity

        CAFA requires minimal diversity in that it requires any member of the class of

plaintiffs to be diverse from any defendant. 36 Plaintiffs Tommy Badeaux and Candis

Lambert are domiciled in Louisiana. 37 Defendants state in their Amended Notice of

Removal that Defendant Roger Goodell is domiciled in the state of New York.38 Plaintiffs


32 28 U.S.C. § 1332(d).
33 R. Doc. 1-1 at 2, 5.
34 R. Docs. 11, 18, 24, 27.
35 See Preston v. Tenet Healthsystem Mem'l Med. Ctr., Inc., 485 F.3d 804, 818 (5th Cir. 2007).
36 28 U.S.C. § 1332(d).
37 R. Doc. 1 at 3; R. Doc. 27 at 5.
38 R. Doc. 19.


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argue Defendants did not properly allege the citizenship of Defendant Goodell in their

original Notice of Removal and, as a result, the Court may not consider the allegations in

the amended Notice of Removal to determine the citizenship of Defendant Goodell. 39

Diversity jurisdiction rests on the facts that exist at the time of removal,40 not on the

sufficiency of the jurisdictional allegations contained in the notice of removal. The Court

may consider the jurisdictional allegations in the amended Notice of Removal to

determine whether diversity jurisdiction existed at the time of removal. Defendants are

permitted to freely amend the notice of removal prior to the expiration of the thirty-day

period for removal. 41 Plaintiffs filed the state court petition on January 22, 2019 and

served Defendants on that same day.42 Defendants filed their amended Notice of Removal

on January 28, 2019,43 well within that thirty-day period. Even after the expiration of the

thirty-day period for removal, a defendant may amend the notice of removal to cure

technical defects in jurisdictional allegations. 44 Because the citizenship of Plaintiffs is

diverse from that of Defendant Goodell, the Court finds minimal diversity of citizenship

exists.

                D. Amount in Controversy

          For this court to exercise diversity subject matter jurisdiction under CAFA, the

aggregate amount in controversy must exceed $5,000,000.45 In their state court petition,

Plaintiffs seek damages for the following enumerated injuries:

          (a) Past present, and future mental anguish and emotional trauma;

39 R. Doc. 18 at 2.
40 Moss v. Princip, No. 16-10605, 2019 WL 211214, at *3 (5th Cir. Jan. 16, 2019).
41 Richardson v. United Steelworkers of Am., 864 F.2d 1162 (5th Cir. 1989), citing WRIGHT, MILLER &

COOPER, FEDERAL PRACTICE AND PROCEDURE: JURISDICTION § 3733 at 537 (2d ed. 1985).
42 R. Doc. 1-1 at 2-5.
43 R. Doc. 19.
44 28 U.S.C. § 1653.
45 28 U.S.C. § 1332(d).


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        (b) Past present, and future loss of faith in the NFL;
        (c) Past present, and future loss of enjoyment of life;
        (d) Present and future loss of entertainment;
        (e) Distrust of the game which has become a national pastime;
        (g) [sic] Other damages itemized at the trial of this matter.46

        Defendants assert the amount in controversy exceeds $5,000,000.47 The Court is

permitted to make common-sense inferences about the amount in controversy. 48 For

example, in Allen v. R&H Oil & Gas Co., the district court inferred that hundreds of

plaintiffs seeking punitive damages for a wide variety of harms allegedly caused by

wanton and reckless conduct would satisfy the amount in controversy.49 The Fifth Circuit

affirmed this common-sense determination.50 Although Defendants have not alleged the

number of New Orleans Saints season ticketholders, it is reasonable for the court to infer

there are at least 60,000 season ticketholders. The claims of these 60,000 season

ticketholders, claiming only $100 in damages each, would exceed the $5,000,000

threshold.51 As a result, the Court finds the amount in controversy is satisfied.

        The Court notes that, after Defendants filed their Notice of Removal, Plaintiffs

filed an affidavit executed by Plaintiff Tommy Badeaux averring he is not requesting

monetary damages.52 Based on the affidavit, Plaintiffs argue the amount in controversy is

not satisfied because Plaintiffs seek only a writ of mandamus and do not seek monetary

damages.     53   Post-removal affidavits regarding the amount in controversy may be



46 R. Doc. 1-1 at 5, ¶ 11.
47 R. Doc. 1 at 4.
48 Robertson v. Exxon Mobil Corp., 814 F.3d 236, 240 (5th Cir. 2015).
49 Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1336 (5th Cir. 1995).
50 Id.
51 Plaintiffs complain of “monetary loss for ticket holders” but do not include this injury in the itemized list

of damages in paragraph nine of their petition. R. Doc. 1-1 at 4-5, ¶¶ 8, 11. If this is a category of the damages
Plaintiffs claim, this category also would exceed the $5,000,000 threshold. R. Doc. 1-2 at 2-3,
¶ 2.
52 R. Doc. 11-1 at 2.
53 R. Doc. 24 at 4-5.


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considered only when the basis for jurisdiction is ambiguous at the time of removal.54

When it is facially apparent from the state court petition that the amount in controversy

is satisfied at the time of removal, “post-removal affidavits, stipulations, and amendments

reducing the amount do not deprive the district court of jurisdiction.”55 It is clear from

the face of Plaintiffs’ state court petition that they bring a class action and request

monetary damages exceeding the $5,000,000 aggregate threshold. As a result, this Court

will not consider the post-removal affidavit signed by Plaintiff when determining whether

it has jurisdiction.

        Even if the Court could consider the Tommy Badeaux affidavit, it would not affect

the amount in controversy as the purported class has not been certified. A pre-class

certification stipulation by a class representative that the amount in controversy does not

exceed $5,000,000 will not divest a federal court of CAFA jurisdiction because the

affidavit is not binding on the absent class members but only on the affiant himself. 56

Tommy Badeaux’s post-removal affidavit does not reduce the amount in controversy.

        Because Plaintiffs bring a “class action,” in which the class exceeds one hundred,

minimal diversity exists, and the amount in controversy exceeds $5,000,000, this Court

has diversity subject matter jurisdiction over this case pursuant to CAFA.57 The Motion to

Remand58 filed by Plaintiffs is denied.




54 Standard Fire Ins. Co, 568 U.S. at 593 (finding post-removal affidavit stipulating that plaintiff would not
seek damages for the class in excess of $5 million did not deprive the court of jurisdiction under CAFA).
55 Gebbia, 233 F.3d at 883.
56 Standard Fire Ins. Co., 568 U.S. at 593.
57 28 U.S.C. § 1332(d).
58 R. Doc. 24.


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        II.     Plaintiffs’ Right to a Writ of Mandamus

        Plaintiffs’ second prayer in the state court petition is “that a writ of mandamus be

ordered by this Court.” 59 It is clear the Plaintiffs seek a writ directed to Defendant

Goodell. It is unclear what action Plaintiffs seek to compel him to do. The rule to show

cause issued by the state court, presumably drafted by Plaintiffs, ordered Defendants to

show cause why that court should not issue a writ of mandamus “compelling Roger

Goodell, commissioner of National Football League, to implement Rule 17, Section 2,

Article 1 and 3, wherein the commissioners powers under this section 2 include . . . the

reversal of the game’s result or the rescheduling of a game either from the beginning or

from the point of which the extraordinary act occurred.”60 At the hearing held January

28, 2019, Plaintiffs stated they seek a writ of mandamus to be issued to Defendant Goodell

to compel him to conduct a full investigation of the incidents in the final two minutes of

the January 20, 2019 National Football Conference championship game, which Plaintiffs

believe the commissioner is required to do pursuant to NFL Rule 17.61 In their Motion to

Remand, Plaintiffs explain that their state court petition “sought to compel NFL

Commissioner Roger Goodell to follow the NFL Rules.” 62 After considering all of

Plaintiffs’ pleadings and arguments, the object of the writ of mandamus remains unclear.

Fortunately, the precise nature of the action Plaintiffs seek to compel Defendant Goodell

to do is not material to the Court’s decision.

        It is well established that the writ of mandamus is an extraordinary remedy which

is to be used only sparingly.63 The Louisiana Supreme Court has explained, “[t]he writ of


59 R. Doc. 1-1 at 5, ¶ 11.
60 R. Doc. 1-1 at 4, ¶ 8; R. Doc. 1-1 at 9.
61 R. Doc. 27 at 26.
62 R. Doc. 24-1 at 7.
63 Hoag v. State, 2004-0857, p. 6 (La. 12/1/04); 889 So. 2d 1019, 1023.


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mandamus is the most arbitrary of all the forms of judicial authority which is exercised.

It shuts out the right of trial by jury. It substitutes for the ordinary and cautious mode of

judicial proceeding an extremely harsh and summary one. The [Louisiana] Code

characterizes it as an extraordinary remedy; and it is subjected to close limitations.”64

        Louisiana Code of Civil Procedure articles 3861 and 3864 describe the particular

persons and entities to whom the writ of mandamus may be issued and the kinds of

actions the writ of mandamus may compel.65 Louisiana Code of Civil Procedure article

3862 provides, “[a] writ of mandamus may be issued in all cases where the law provides

no relief by ordinary means or where the delay involved in obtaining ordinary relief may

cause injustice.” Even if article 3862 is interpreted to cover certain situations not

explicitly provided for in articles 3861 and 3864, it would not apply in this case.66 This is

not a case in which the law provides no relief or where the delay in obtaining relief may

cause injustice. Instead, the law provides Plaintiffs a right to relief without unjust delay

in the form of an injunction or temporary restraining order. Like a writ of mandamus, an

injunction or temporary restraining order is a summary proceeding heard on an expedited

basis. 67 At the hearing regarding Plaintiffs’ right to a writ of mandamus, counsel for

Plaintiffs admitted the Plaintiffs did not seek injunctive relief because they did not want

to post a bond.68 The writ of mandamus may not be used to “bypass the furnishing of




64 State ex rel. Arbour v. Bd. of Managers of Presbyterian Hosp. of New Orleans, 59 So. 108, 108 (La.
1912).
65 Louisiana Code of Civil Procedure articles 3861 and 3863 also authorize the writ to be issued to a public

officer. The parties agree no relief against a public officer is sought in this case. R. Doc. 27 at 21-22.
66 Mares v. La. Wild Life & Fisheries Comm'n, 236 So. 2d 650, 654 (La. Ct. App. 1970).
67 LA. CODE. CIV. P. arts. 2592, 3601-3613.
68 R. Doc. 27 at 21.


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security required in connection with the issuance of a temporary restraining order or a

preliminary injunction.”69

       A writ of mandamus may not be directed to Defendant Goodell. Louisiana Code of

Civil Procedure articles 3861 and 3864 authorize the writ of mandamus be directed only

to a corporation or officer thereof or a limited liability company or a member or

manager thereof. Commissioner Goodell is not a corporation or an officer of a

corporation. Commissioner Goodell is not a limited liability company or a member or

manager of a limited liability company.

       Plaintiffs argue the NFL, an unincorporated association, should be treated as a

corporation and the bylaws of the NFL confer upon the Commissioner the same powers

as an officer of a corporation.70 The Court’s research revealed no case in which a Louisiana

court issued a writ of mandamus to any entity or person not specifically listed in articles

3861 and 3864. The history of the Code of Civil Procedure articles governing the writ of

mandamus also convinces the Court that the articles are meant to be strictly construed

and not extended to cover any person or entity not specifically listed. Code articles

authorizing Louisiana courts to issue writs of mandamus were first included in the Code

of Practice of 1825.71 As originally enacted, the articles allowed Louisiana courts to issue

writs of mandamus “to an individual or corporation . . . directing it to perform some

certain act belonging to the place, duty, or quality with which it is clothed.”72 The Code

specified that writs of mandamus could be directed to corporations

       (1) To compel them to make elections and perform the other duties required
           by their charter: [and]

69 Craig v. Int’l Tri-D Corp., 338 So. 2d 952, 954 (La. Ct. App. 4 Cir. 1976).
70 R. Doc. 18 at 3-4.
71 LA. CODE PRAC. arts. 829–36 (1825); see also Shael Herman, The Code of Practice of 1825: The

Adaptation of Common Law Institutions, 24 Tul. Eur. & Civ. L.F. 207, 217–20 (2009).
72 LA. CODE PRAC. art. 829 (1825).


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        (2) To compel them to receive or restore to their functions such of their
            members as they shall have refused to receive, although legally chosen,
            or whom they shall have removed without sufficient cause.73

Early Louisiana courts granted writs of mandamus to compel corporations to comply

with their duties under their corporate charters or under Louisiana law.74 They did not

grant writs of mandamus in cases in which the plaintiffs could not establish a legal right

to the remedy.75

        The Louisiana Code of Practice articles governing mandamus were amended and

incorporated into the Louisiana Code of Civil Procedure in 1960.76 Amended article 3864

retained the requirement that writs of mandamus issue only against corporations or a

corporate officer and only to enforce duties and rights prescribed by law or by corporate

bylaws.77 Not until 2017 was the article amended to permit writs of mandamus against

limited liability companies and their members or managers.78 The legislative history of

the articles shows the Louisiana legislature has intentionally limited the writ of

mandamus. If the legislature had intended to extend the applicability of the writ to

unincorporated associations, it would have done so in 2017. Given that mandamus is

“subjected to close limitations,” and articles 3861 and 3864 do not include an

unincorporated association, the Court will not adopt the expansive and unprecedented

interpretation of Louisiana law urged by Plaintiffs.




73 LA. CODE PRAC. art. 835 (1825).
74 See e.g., Prieur v. President & Dirs. of Commercial Bank of New Orleans, 7 La. 509 (1835) (affirming
grant of writ of mandamus for plaintiff directors seeking to vote to fill a vacancy in the board of directors).
75 See, e.g., State ex rel. Hiern v. St. Paul, 104 La. 280 (1900) (“Mandamus issues to compel an officer to do

an act, and will not issue after an act has been done and has become an accomplished fact.”); Hatch v. City
Bank of New Orleans, 1 Rob. (LA) 470 (La. 1842) (reversing grant of writ of mandamus for plaintiff
shareholders because the right asserted was not established by the charter or by law).
76 LA. CODE CIV. P. art 3862, official revision comments—1960.
77 LA. CODE CIV. P. art 3864 (1960).
78 LA. CODE CIV. P. art 3864 (2017)


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        Plaintiffs do not have the right to seek a writ of mandamus. 79 The Louisiana

Supreme Court held in State ex rel. Arbour v. Board of Managers of Presbyterian

Hospital of New Orleans that only members or managers of the non-profit corporation

may seek a writ of mandamus.80 In that case, a student sought to compel a hospital to

reinstate her in its training school for nurses. The Louisiana Supreme Court interpreted

the mandamus remedy strictly and declined to issue the writ to reinstate the student

because she was not a member or manager of the non-profit corporation.81 Similarly, in

State ex rel. Cotonio v. Louisiana Bar Association, the Louisiana Supreme Court denied

the request of a non-member of the Louisiana Bar Association, a non-profit corporation,

for a writ of mandamus.82 in this case, Plaintiffs and the purported class members they

represent are not members of the NFL, an unincorporated association, and they are not

members or managers of NFL Properties, LLC.

        None of the actions Plaintiffs might seek to compel Commissioner Goodell to do

are the kinds of actions a writ of mandamus may address. Louisiana Code of Civil

Procedure article 3864 authorizes a writ of mandamus be directed to compel performance

of a ministerial duty;”83 such as the holding of an election or the performance of other

duties required by bylaws, articles of organization, or operating agreement or as

prescribed by law; or to compel the recognition of the rights of the shareholders or

members. For example, Courts have issued a writ of mandamus to compel a corporation



79 In Brennan v. Brennan, 945 F.Supp.2d 704, rev’d on other grounds, 548 F. App’x. 264 (5th Cir. 2013),
this court held the Plaintiffs in intervention could request a writ of mandamus because they alleged they
were shareholders and sought recognition of their rights as such. In the present case, neither the Plaintiffs
nor the members of the purported class claim to be shareholders or members or managers of the NFL or
NFL Properties, LLC.
80 State ex rel. Arbour, 59 So. at 108.
81 Id. at 109.
82 State ex rel. Cotonio v. La. Bar Ass'n, 36 So. 50, 51 (La. 1904).
83 Hiers v. DuFreche, 2012-1132, (La. App. 1 Cir. 10/24/13); 2013 WL 8445626, at *4.


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to transfer stock84 or issue a stock certificate,85 to compel a corporation to hold regular

meetings required by its charter,86 to compel a corporation to permit a shareholder to

examine the corporate books,87 to compel a corporation to provide an annual report,88 or

to compel a corporation to provide information upon a shareholder’s written request.89

In all of those cases, the corporation was required by law, bylaws, or articles of

incorporation to so act, and the writ issued to compel the corporation to enforce the rights

of shareholders.

        It is clear that the writ of mandamus may be used only to compel the performance

of some unequivocal duty imposed by law.90 “[M]andamus is to be used only when there

is a clear and specific legal right to be enforced or a duty which ought to be performed; it

never issues in doubtful cases. 91 The writ of mandamus may not be used to enforce a

disputed right.92 The writ of mandamus is not appropriate to “exercise visitorial powers

over . . . associations or their proceedings, except to prevent the violation of some law of

the state or to protect or enforce some right already acquired.”93



84 State ex rel. Pope v. Bunkie Coca Cola Bottling Co., 63 So. 2d 13 (La. 1953).
85 Volker v. Crescent City Wholesale Florist, 17 So. 2d 372 (La. 1944).
86 Alexis v. Coker, 35 So.2d 907 (La. Ct. App. 1948).
87 State ex rel. Carey v. Dalgarn Constr. Co., 122 So. 884 (La. Ct. App. 1929).
88 Tichenor v. Dr. G.H. Tichenor Co., 161 So. 198 (La. Ct. App. 1935).
89 Burguieres v. J. M. Burguieres Co., 312 So. 2d 179, 180 (La. Ct. App. 1975).
90 State ex rel. Arbour, 59 So. at 109 (“Ordinarily, a writ of mandamus will issue to compel the performance

of some unequivocal duty imposed by law.”); Baldone v. Terrebonne Par. Registrar of Voters, 2015-1356,
pp. 5-6 (La. App. 1 Cir. 9/21/15); 182 So. 3d 1005, 1008 (finding because there is no clear and specific right
to register to vote under two different parties, the district court did not err in declining to issue a writ of
mandamus to order the Registrar to comply with Plaintiff’s wishes to register as both Republican and
Democrat).
91 Wiginton v. Tangipahoa Par. Council, 2000-1319, p. 4 (La. App. 1 Cir. 6/29/01); 790 So. 2d 160, 163.
92 State ex rel. Boykin v. Hope Producing Co., 167 So. 506, 509 (La. Ct. App. 1936).
93 State ex rel. Cotonio, 36 So. at 51 (declining writ of mandamus to compel Louisiana State Bar Association

to admit an applicant because the question of whether the committee of the association, in reporting
unfavorably on the applicant, had acted irregularly, should be determined by the association); see also State
ex rel. Cotonio v. Louisiana Bar Ass'n, 36 So. 241, 241 (La. 1904) (Provosty, J., concurring) (“The defendant
is a mere voluntary association of lawyers, and relator is a mere outsider to it. Between him and it there has
been no relation, contractual or other, such as could create a vinculum juris—give birth to a right of
action.”).

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        Plaintiffs belatedly assert they are entitled to pursue the issuance of a writ of

mandamus based on their contractual rights as season ticketholders. 94 This cause of

action is not included in Plaintiffs’ state court petition beyond the assertion that, as a

direct result of the incident, Plaintiffs have suffered “monetary loss for ticket holders.”95

Even if the Court interprets this allegation as asserting a cause of action for breach of the

contractual rights of season ticketholders, mandamus relief would not be available. A writ

of mandamus may not be used to compel performance of contractual rights and

obligations.96

        Accordingly;

        IT IS ORDERED that the Motion to Remand97 filed by Plaintiffs is DENIED.

        IT IS FURTHER ORDERED that Plaintiffs’ request for the issuance of a writ of

mandamus directed to Defendant Goodell is DENIED.

        New Orleans, Louisiana, this 31st day of January, 2019.


                                              ________________________________
                                                       SUSIE MORGAN
                                                UNITED STATES DISTRICT JUDGE




94 R. Doc. 11.
95 R. Doc. 1-1 at 4, ¶ 8.
96 Hebert v. Abbey Healthcare Grp., Inc., 94-1280, p. 4 (La. App. 3 Cir. 5/17/95); 657 So. 2d 278, 281; State

ex rel. Arbour, 59 So. at 108.
97 R. Doc. 24.


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